
4 N.Y.2d 969 (1958)
Louis Rothman et al., Respondents, et al., Plaintiff,
v.
Estate of David Rosenberg, Deceased, Defendant, and Queens Farms Dairy, Inc., et al., Appellants.
Court of Appeals of the State of New York.
Argued May 14, 1958.
Decided June 25, 1958.
Emile Z. Berman and Howard Lester for appellants.
Jacob D. Fuchsberg, Abraham Fuchsberg and B. Hoffman Miller for Dotty Karpel, respondent.
Harold M. Hoffman, Abraham Fuchsberg and B. Hoffman Miller for Simon Schwartzberg, respondent.
Abraham Umanov, Samuel J. Moskowitz and Milton Jacobs for Lilie Gritz and another, respondents.
Barnet S. Blume and Benjamin H. Siff for Ethel Rosenberg, respondent.
Harold Kornfeld for Louis Rothman, respondent.
Concur: Chief Judge CONWAY and Judges DESMOND, DYE, FULD, FROESSEL and BURKE. Dissent: Judge VAN VOORHIS.
Judgment affirmed, with costs; no opinion.
Judge VAN VOORHIS dissents and votes to reverse and to dismiss the complaints upon the ground that the physical facts and circumstances of the accident render its occurrence in the manner claimed by the plaintiffs incredible as a matter of law.
